

People v Santiago (2024 NY Slip Op 01352)





People v Santiago


2024 NY Slip Op 01352


Decided on March 14, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 14, 2024

Before: Kern, J.P., Friedman, Kapnick, Gesmer, Rodriguez, JJ. 


Ind No. 3192/12 Appeal No. 1859 Case No. 2022-02874 

[*1]The People of the State of New York, Respondent,
vRaymond Santiago, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Corina Scott of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Amir H. Khedmati of counsel), for respondent.



Order, Supreme Court, Bronx County (Margaret L. Clancy, J.), entered on or about June 16, 2022, which adjudicated defendant a level three sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in declining to grant a downward departure (see People v Gillotti, 23 NY3d 841, 861 [2014]). The mitigating factors cited by defendant were adequately taken into account by the risk assessment instrument, or were outweighed by the seriousness of the underlying offenses, which involved the rapes of three female strangers over the course of three months. The egregiousness of the
underlying crimes indicated a danger that reoffense by defendant would cause serious harm (see People v Roldan, 140 AD3d 411, 412 [1st Dept 2016], lv denied 28 NY3d 904 [2016]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 14, 2024








